         Case 1:21-cr-00201-DLF Document 61 Filed 10/29/21 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
                     Plaintiff,                  )
                                                 )
       vs.                                       )   Case No. 4:21-cr-00272-MTS-SRW-1
                                                 )
MICHAEL AARON QUICK,                             )
STEPHEN BRIAN QUICK,                             )
ZACHARY HAYES MARTIN,                            )
                                                 )
                     Defendant.                  )

                                  NOTICE OF APPEARANCE

       COMES NOW Joseph S. Passanise and Taylon Sumners of WAMPLER & PASSANISE

LAW OFFICE, and respectfully makes their Entry of Appearance herein for and on behalf of

Defendant’s, Michael Quick, Stephen Quick, and Zachary Martin.

                                                 Respectfully Submitted

                                                 _______/s/Joseph Passanise__________
                                                 JOSEPH S. PASSANISE, MO Bar #46119
                                                 TAYLON SUMNERS, MO Bar #73114
                                                 Attorneys for Defendant
WAMPLER & PASSANISE
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          Case 1:21-cr-00201-DLF Document 61 Filed 10/29/21 Page 2 of 2




                                      Certificate of Service

        I hereby certify that on October 29, 2021, I electronically filed the foregoing with the U.S.
District Court Clerk using the CM/ECF system which sent notification of such filing to U.S.
Attorney, Washington, DC.


                                                      _____/s/Joseph Passanise______________
                                                      Joseph S. Passanise
                                                      Taylon Sumners
                                                      Attorneys at Law




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